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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 v.                                                §         No. 4:17CR
                                                   §         Judge
 MOHOMMAD HASNAIN ALI                              §

                                        FACTUAL BASIS

        It is hereby stip lated and agreed by the defendant, Mohommad Hasnain Ali, that the

 following facts are true and correct and that he understands and agrees, with express consent of

 his counsel, Catherine McDonald, that this Factual Basis may be used by the Court to determine

 whether his plea is voluntary and knowing and by the probation officer and the Court to

 determine an appropriate sentence for the offenses to which he is pleading guilty:



         1. Mohommad Hasnain Ali is the same person charged in Count One of the

 Information.


        2. The Islamic State of Iraq and al-Sham ( ISIS ) is a designated Foreign Terrorist

 Organization ( FTO ) under Section 9 of the Immigration and Nationality Act and as a Specially

 Designated Global Terrorist under section 1(b) of Executive Order 13224.

        3. Between October and December 2014, the defendant s sons, who initials are

  A.A. and O.A., traveled from Egypt to Syria via Turkey, to fight for ISIS.

        4. Prior to his sons’ departure from Egypt, the defendant communicated regularly

 with his sons regarding his sons’ whereabouts and his sons’ desire to fight for ISIS. For

 example, on October 12, 2014, A.A. emailed O.A. and the defendant. The email contained a

 hyperlink to a video of an ISIL military parade in Dema, Libyia. The email also discussed




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 persons who traveled from the United States to join ISIL.

        5. On November 20, 2014, A. A. sent his mother an email that appeared to be a

 forward of a travel itinerary. The forwarded email appeared to be from a travel website and was

 dated November 17, 2014. The body of the forwarded email contained a flight itinerary for A.A.

 to travel on November 21, 2014, from Cairo, Egypt, to Istanbul, Turkey. As A.A. and O.A.

 travelled from Istanbul to the Turkish border with Syria, they communicated their progress to the

 defendant s wife. She, in turn, communicated that information with the defendant.

        6. After his sons arrived in Syria and joined ISIS, the defendant continued to

 communicate with them about their whereabouts and efforts for ISIS. For e ample, on March 10

 and March 11, 2015, A.A. communicated with the defendant. A.A. said:

        Things are heating up here, and I can't guarantee me or O [meaning O.A.] will be
        there in 2 months. Don't tell [Sumaiya Ali] or anyone else this, I’ve been to the
        hospital everyday with brothers from my group. Close friends have died, too
        many injured. Me and O [meaning O.A.] r perfectly fine right now, but soon we
        may not be.


 The defendant understood this message to mean that many of A.A.’s fellow ISIS members have

 been wounded or killed while fighting on behalf of ISIS, and he fears that he and O.A. will suffer

 the same fate.


        7. On May 5, 2015, members of the Federal Bureau of Investigation ( FBI )

 interviewed the defendant. The investigators advised the defendant of the nature of the interview

 and explained that it was a crime to provide a false statement to the FBI.

        8. During the interview, the defendant falsely stated that his sons were in Cairo,

 Egypt. The defendant stated that he was aware that ISIS is prevalent in Syria and Iraq and is the

 terrorist organization that gove s the “Islamic State. He advised that his sons were peaceful,

 liked to study, and never indicated that they would be affiliated with any terrorist groups. The




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 defendant said that he has never known his sons to be involved with terrorist organizations. The

 defendant continued to reiterate there was no way his sons were in Syria.

           9. The defendant s statements regarding his sons whereabouts and connections to

 ISIS were false, fictitious, and fraudulent. The statements and re resentations were material to

 the FBI’s investigation of the defendant’s sons, which is a matter within the jurisdiction of the

 executive branch of the United States government. The defendant acted willfully and

 knowingly.

                   DEFENDANT S SIGNATURE AND ACKNOWLEDGMENT

          I have read this Factual Basis and the Information or have had them read to me and have

 discussed them with my attorney. I fully understand the contents of this Factual Basis and agree

 without reservation that it accurately describes the events and y acts.
                                                              /
                                                                                  /
                                                                              /
                                                Defendant



              DEFENSE COUNSEL’S SIGNATURE AND ACKNOWLEDGMENT


           I have read this Factual Basis and the Information and have reviewed them with my

 client. Based upon my discussions with my client, I am satisfied that he understands the Factual

 Basis as well as the Information, and is knowingly and voluntarily agreeing to these stipulated

 facts.



 Dated: ( ( > " /1 i'
                                                Catherine McDonald
                                                Attorney for Defendant




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